Case 2:03-Cv-02932-.]PI\/|-tmp Document 61 Filed 08/03/05 Page 1 of 2 Page|D 79
IN THE UNITED STATES DISTRICT COURT

 

NICOLAS CARR.ANZA ,

Defendant.

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cALDERoN, JANE noE, and ) TPWS M. GOULD
conn noE. ) G~ERK' U-S-.YW§CTCUBT
) W/U 957 :.1\£. win PH{S
Plaintiffs, )
)
v. ) No. 03-2932-M1/P
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ORDER OF REFERENCE

 

Before the Court is Defendant‘s Motion to Quash the
Notice of Deposition of Dr. J. Michael Waller and for Protective
Order, filed August 2, 2005. This matter is referred to the
United States Magistrate Judge for determination. Any exceptions
to the magistrate judge's order shall be made within ten (lO)
days of the magistrate judge's order, setting forth particularly
those portions of the order excepted to and the reasons for the
exceptions.

\é§ day of August, 2005.

QMOQ@L

JO P. MCCALLA
'I‘ED STATES DISTRIC‘I‘ JUDGE

I'I‘ IS SO ORDERED this

 

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W`ith Hu!e 58 and/or 79{a) FRCP on d ";£ t (V /

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 61 in
case 2:03-CV-02932 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

Nicolas Carranza
6530 Red Birch Dr.
1\/lemphis7 TN 38115

Robert M. Fargarson

NEELY GREEN FARGARSON BROOKE & SUl\/[MERS
65 Union Ave.

Ste. 900

1\/lemphis7 TN 38103--054

David R. Esquivel

BASS BERRY & SIMS PLC
315 Deaderick Street

Ste. 2700

Nashville, TN 37238--000

Matthew J. Eisenbrandt

CENTER FOR IUSTICE & ACCOUNTABILITY
870 Market St.

Ste. 684

San Francisco, CA 94102

Carolyn Patty Blum

CENTER FOR IUSTICE & ACCOUNTABILITY
291 West 12th St.

NeW York7 NY 10014

Honorable J on McCalla
US DISTRICT COURT

